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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                  :
 UNITED STATES OF AMERICA,                        :
                                                  :         18cr602
                -against-                         :
                                                  :         OPINION & ORDER
 MICHAEL COHEN,                                   :
                                                  :
                               Defendant.         :
                                                  :

WILLIAM H. PAULEY III, Senior United States District Judge:

               Various media organizations seek an order unsealing documents relating to

searches conducted by the Federal Bureau of Investigation on April 9, 2018 in connection with a

grand jury investigation by the United States Attorney’s Office for the Southern District of New

York (the “Government”) of Defendant Michael Cohen and others. The media organizations

assert a right of access to these warrant materials under the common law and the First

Amendment to the U.S. Constitution. For the reasons that follow, their applications are granted

in part and denied in part.

                                        BACKGROUND

               These applications implicate the familiar tension between public access to judicial

records and the integrity of law enforcement investigations—interests arguably magnified by the

intense scrutiny of Cohen’s criminal case by the media, the general public, and even the

President of the United States. On April 9, 2018, the FBI executed searches of Cohen’s

residence, hotel room, office, safe deposit box, cell phones, and electronic communications

pursuant to warrants authorized under Rule 41 of the Federal Rules of Criminal Procedure and

18 U.S.C. § 2703. These searches, according to the Government, represented the first public step

in what was by then a months-long investigation into Cohen’s business dealings and potential
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campaign finance violations. Following the searches, Cohen pled guilty on August 21, 2018 to

five counts of tax evasion based on his failure to report over $4 million in taxable income to the

Internal Revenue Service, one count of making false statements to financial institutions to obtain

a $500,000 home equity line of credit, and two counts of campaign finance violations based on

his involvement with hush payments to women who threatened to disclose details of their extra-

marital affairs with a candidate for federal office.1

                  Subsequently, The New York Times Company, the American Broadcasting

Companies, Inc., the Associated Press, Cable News Network, Inc., Daily News, L.P., Dow Jones

& Co., Inc., Newsday LLC, NYP Holdings, Inc., and CBS Broadcasting, Inc. (the “Media

Organizations”) filed letter applications to unseal documents relating to the April 9, 2018

searches. (See ECF No. 9 (“Times Letter”); ECF No. 11 (“News Organizations Letter”); ECF

No. 19 (“CBS Letter”).) In particular, the applications seek to unseal copies of the warrants,

warrant applications, and supporting affidavits and riders in connection with these searches (the

“Materials”). The Government opposed the applications on the basis that disclosure would

jeopardize an ongoing investigation and prejudice the privacy rights of uncharged third parties.

In addition to a publicly filed brief (ECF No. 14), the Government submitted a supplemental ex

parte submission articulating the factual bases for its opposition and also provided the Materials

for in camera review. Cohen did not submit any opposition papers.

                                                  DISCUSSION

                  The “notion that the public should have access to the proceedings and documents




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          On November 29, 2018, after briefing on these applications completed, Cohen pled guilty before another
judge in this district to one count of making false statements to the Senate Select Committee on Intelligence and the
House Permanent Select Committee on Intelligence relating to an ongoing investigation by the Special Counsel’s
Office of the U.S. Department of Justice. (See United States v. Cohen, 18cr850 (S.D.N.Y.).) On consent of the
parties, that case was transferred to this Court for sentencing on December 12, 2018 in tandem with this case.

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of courts is integral to our system of government.” United States v. Erie Cty., 763 F.3d 235,

238-39 (2d Cir. 2014). This long-standing precept is embodied in two “related but distinct

presumptions”—“a strong form rooted in the First Amendment and a slightly weaker form based

in federal common law.” Newsday LLC v. Cty. of Nassau, 730 F.3d 156, 163 (2d Cir. 2013);

accord Erie Cty., 763 F.3d at 239 (noting that “the First Amendment protection has been

understood to be stronger than its common law ancestor and counterpart”). Each presumption

implicates a separate framework governing when it attaches and when it may be overcome.

Ultimately, the “decision as to access is one best left to the sound discretion of the trial court, a

discretion to be exercised in light of the relevant facts and circumstances of the particular case.”

Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 599 (1978).

I.     Common Law Right of Access

               As a threshold matter, this Court must first examine whether the pertinent

provisions of Title II of the Electronic Communications Privacy Act—commonly referred to as

the Stored Communications Act (“SCA”) and codified at 18 U.S.C. §§ 2701-2712—supersede

the common law right of access to § 2703 warrants, applications, and affidavits. In re N.Y.

Times Co. to Unseal Wiretap & Search Warrant Materials, 577 F.3d 401, 405-06 & n.3 (2d Cir.

2009) (instructing that where an applicable statute speaks to the accessibility of the documents in

question, courts should begin with the statute). For instance, the Second Circuit has evaluated

whether to unseal Title III wiretap applications by reference to the applicable statutory standard

in 18 U.S.C. § 2518(8)(b) without engaging in a common law analysis, concluding that Title III

“revealed a manifest congressional intent that . . . clearly negated a presumption in favor of

disclosure” of wiretap applications. In re N.Y. Times Co., 577 F.3d at 406-09 & n.3; see 18

U.S.C. § 2518(8)(b) (providing in relevant part that “[wiretap applications] made and orders



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granted . . . shall be sealed by the judge” and that “[s]uch applications and orders shall be

disclosed only upon a showing of good cause before a judge of competent jurisdiction”

(emphasis added)).

               By contrast, the SCA contains no provision mandating the sealing of § 2703

warrants, applications, or supporting affidavits. See In re Application of Leopold to Unseal

Certain Elec. Surveillance Applications & Orders, 300 F. Supp. 3d 61, 85 (D.D.C. 2018). To be

sure, the SCA “explicitly relieves the government of any obligation to notify a subscriber or

customer about the compelled disclosure pursuant to an SCA warrant.” In re Application of

Leopold, 300 F. Supp. 3d at 85 (citing 18 U.S.C. § 2703(b)(1)(A)). It also permits the

Government to apply for an order requiring a service provider in receipt of a § 2703 warrant “not

to notify any other person” of the warrant’s existence “for such period as the court deems

appropriate.” 18 U.S.C. § 2705(b). But these statutory provisions hardly evince a clear

congressional intent against disclosure that would undermine a common law presumption of

access to § 2703 warrants, applications, and supporting affidavits. See United States v. Texas,

507 U.S. 529, 534 (1993) (expressing the longstanding principle that “[s]tatutes which invade the

common law . . . are to be read with a presumption favoring the retention of long-established and

familiar principles, except when a statutory purpose to the contrary is evident” (alterations in

original)); cf. In re N.Y. Times Co., 577 F.3d at 407 n.3 (noting that “the plain language of the

[wiretap statute] indicates that there is a categorical presumption against disclosure of sealed

wiretap applications”).

       A. Legal Standards

               Having found no statutory presumption against disclosure that obviates

consideration of the common law for the Media Organizations’ applications, this Court turns to



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whether a common law presumption applies to the Materials. The common law right of access

to court records has a “long history” that has been said to “predate even the Constitution itself.”

Erie Cty., 763 F.3d at 239 (citing United States v. Amodeo (“Amodeo I”), 44 F.3d 141, 145 (2d

Cir. 1995)). This “presumption of access is based on the need for federal courts, although

independent—indeed, particularly because they are independent—to have a measure of

accountability and for the public to have confidence in the administration of justice.” United

States v. Amodeo (“Amodeo II”), 71 F.3d 1044, 1048 (2d Cir. 1995); see also Erie Cty., 763

F.3d at 239 (explaining that the common law right of access stems from the need for the public

to “have the ability to learn of, monitor, and respond to the actions of their representatives and

representative institutions,” including the courts).

               In analyzing whether the common law right of access warrants the unsealing of

court records, courts in this circuit first ask whether the document is a “judicial document”

presumed to be accessible. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir.

2006). If the document is a judicial document to which the common law presumption of access

applies, the court must then “determine the weight of that presumption.” Lugosch, 435 F.3d at

119. Finally, a court must balance the weight of the presumption against countervailing

considerations, such as “the danger of impairing law enforcement or judicial efficiency” and “the

privacy interests of those resisting disclosure.” Amodeo II, 71 F.3d at 1050. Access to judicial

documents may only be denied when competing interests outweigh the presumption. Erie Cty.,

763 F.3d at 239.

               As a prefatory note, the Media Organizations seek to unseal materials in

connection with warrants authorized pursuant to both Rule 41 and § 2703. But this Court

discerns little meaningful distinction between Rule 41 warrants and § 2703 warrants for purposes



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of the common law right of access analysis. In particular, both types of warrants play largely the

same role in the judicial process—that is, both ultimately reflect judicial determinations of

probable cause for governmental intrusion on individual rights. It also follows that the value of

such judicial determinations would be substantially the same to those monitoring the work of

federal courts. Thus, this Court’s discussion of the common law right of access does not

distinguish between Rule 41 warrants and § 2703 warrants and refers collectively to both as

“search warrants.”

       B. Whether the Materials Are Judicial Documents

               The threshold inquiry of whether a document is a “judicial document” turns on its

“relevan[ce] to the performance of the judicial function and useful[ness] in the judicial process.”

Lugosch, 435 F.3d at 119 (quotation mark omitted); see also Erie Cty., 763 F.3d at 239

(explaining that the inquiry “emphasize[s] the role of the document in the judicial process”).

Search warrants are unquestionably judicial documents because they themselves embody the

performance of judicial functions. See Joy v. North, 692 F.2d 880, 892 (2d Cir. 1982) (“An

adjudication is a formal act of government, the basis of which should, absent exceptional

circumstances, be subject to public scrutiny.”); accord In re Application of the U.S. for an Order

Pursuant to 18 U.S.C. Section 2703(D), 707 F.3d 283, 290 (4th Cir. 2013) (“[I]t is

commonsensical that judicially authored or created documents are judicial records.”); EEOC v.

Nat’l Children’s Ctr., Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996) (“A court’s decrees, its

judgments, its orders, are the quintessential business of the public’s institutions.”).

               The search warrant applications and supporting affidavits are also judicial

documents to which the common law presumption of public access applies. Indeed, the Second

Circuit has observed that a document is a judicial document “not only if the judge actually relied



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upon it, but also if ‘the judge should have considered or relied upon [it], but did not.” Bernstein

v. Bernstein Litowitz Berger & Grossmann LLP, 814 F.3d 132, 140 n.3 (2d Cir. 2016) (citing

Lugosch, 435 F.3d at 119). Because a court necessarily relies upon search warrant applications

and supporting affidavits in assessing whether there is probable cause to issue a search warrant,

they are certainly relevant to the performance of that judicial function. Accord United States v.

Pirk, 282 F. Supp. 3d 585, 596 (W.D.N.Y. 2017) (collecting cases); see also United States v. All

Funds on Deposit at Wells Fargo Bank in S.F. in Account No. 7986104185, Held in the Name of

Account Servs. Inc., & All Prop. Traceable Thereto (“Wells Fargo Bank”), 643 F. Supp. 2d 577,

583 (S.D.N.Y. 2009) (explaining that affidavits in support of search or seizure warrants, which

“are central to a court’s probable cause determination,” “clearly fall within the definition of

‘judicial documents’” (citation omitted)).

       C. Weight of the Common Law Presumption

               Evaluating the weight of the presumption of access entails an examination of “the

role of the material at issue in the exercise of Article III judicial power and the resultant value of

such information to those monitoring the federal courts.” Amodeo II, 71 F.3d at 1049. Although

the Second Circuit noted the “difficulty in defining the weight to be given the presumption of

access,” it has offered helpful guideposts that illuminate where a particular document falls on the

continuum between “matters that directly affect an adjudication” and “matters that come within a

court’s purview solely to insure their irrelevance.” Amodeo II, 71 F.3d at 1049. For example,

the strength of the public’s right to access judicial documents is at its zenith when the documents

play a role “in determining litigants’ substantive rights”—that is, “conduct at the heart of Article

III” that implicates “the need for public monitoring.” Amodeo II, 71 F.3d at 1049. At the other

end of the spectrum, documents that “play only a negligible role in the performance of Article III



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duties” receive a weak presumption of access that “amounts to little more than a prediction of

public access absent a countervailing reason.” Amodeo II, 71 F.3d at 1050. For documents that

lie “in the middle of the continuum,” the “weight to be accorded to the presumption of access

must be determined by the exercise of judgment.” Amodeo II, 71 F.3d at 1049-50. This exercise

of judgment may be informed by whether “filing with the court is unusual or is generally under

seal,” in which case a weightier presumption applies than when “such documents are usually

filed with the court and are generally available.” Amodeo II, 71 F.3d at 1050.

               Like other courts in this circuit, this Court concludes that search warrants and

search warrant materials are entitled to a strong presumption of public access. See, e.g., In re

Search Warrant, 2016 WL 7339113, at *3 (S.D.N.Y. Dec. 19, 2016) (determining that “[t]he

common law presumption of access to the search warrant and related materials” is “entitled to

great weight”); Wells Fargo Bank, 643 F. Supp. 2d at 584-85 (affording search warrant affidavits

a common law presumption “of the highest” weight); In re Sealed Search Warrants Issued June 4

& 5, 2008 (“Sealed Search Warrants”), 2008 WL 5667021, at *3 (N.D.N.Y. July 14, 2008)

(concluding that the presumption of access attaching to search warrant materials “carries the

maximum possible weight”). Indeed, search warrants are not merely “matters that directly affect

an adjudication,” Amodeo II, 71 F.3d at 1049; they themselves represent a judicial determination

that probable cause exists for governmental intrusion. And the information contained in search

warrant applications and affidavits necessarily plays a direct role in a court’s determination of

whether probable cause exists to support issuance of the warrant. See Wells Fargo Bank, 643 F.

Supp. 2d at 584; see also Bernstein, 814 F.3d at 142 (citing Amodeo II, 71 F.3d at 1050)

(describing the “locus of the inquiry” as “whether the document ‘is presented to the court to

invoke its powers or affect its decisions’”).



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               To be sure, as the Media Organizations point out, (see Times Letter, at 2, 3; News

Organizations Letter, at 1; CBS Letter, at 1), the public interest in the underlying subject matter

of the Materials—which implicates the integrity of the 2016 presidential election—is substantial,

cf. Bernstein, 814 F.3d at 143 (recognizing the public’s interest in the substantive allegations of a

complaint sought to be unsealed). However, the analysis is a functional one—that is, the

presumption of access is at its core tethered to the need for public monitoring of the federal

courts and their exercise of judicial power. Cf. SEC v. Van Waeyenberghe, 990 F.2d 845, 847

(5th Cir. 1993) (explaining that “[t]he public’s right to information does not protect the same

interests that the right of access is designed to protect”). As the Second Circuit explained,

       Monitoring both provides judges with critical views of their work and deters
       arbitrary judicial behavior. Without monitoring, moreover, the public could have
       no confidence in the conscientiousness, reasonableness, or honesty of judicial
       proceedings. Such monitoring is not possible without access to testimony and
       documents that are used in the performance of Article III functions.

Amodeo II, 71 F.3d at 1050.

               Thus, the public’s right of access to summary judgment materials in a mine-run

case is not afforded any less weight based on its pedestrian nature. And conversely, the public

has no presumption of access to discovery materials exchanged between the parties—no matter

how sensational—if they play no role in the exercise of judicial power. Cf. Amodeo II, 71 F.3d

at 1050 (“Documents that play no role in the performance of Article III functions, such as those

passed between the parties in discovery, lie entirely beyond the presumption’s reach . . . .”).

Moreover, premising the weight of the common law presumption on the degree of public interest

in the underlying substance of the document would require a court to engage in an inherently

subjective determination as to the newsworthiness of particular information. Accordingly, this

Court sees no basis to afford additional weight to the Materials simply by virtue of their subject

matter. Cf. In re Application of the U.S., 707 F.3d at 294 (explaining that “[t]he mere fact that a

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case is high profile in nature does not necessarily justify public access”).

       D. Countervailing Factors

               The final step of the common law analysis requires an evaluation of whether any

countervailing factors outweigh the presumption of access to the Materials. The constellation of

relevant factors includes both public and private considerations, such as guarding against risks to

national security, protecting the privacy and reputation of crime victims, and minimizing the

danger of an unfair trial from adverse publicity. See Amodeo I, 44 F.3d at 147. One cluster of

considerations particularly germane to the Media Organizations’ applications centers on the risk

of impairing law enforcement investigations and the interests in preventing disclosure of law

enforcement techniques and procedures, preserving the confidentiality of sources, protecting

witnesses and law enforcement personnel, safeguarding the privacy of individuals involved in an

investigation, and otherwise preventing interference with or disclosure of the details of an

ongoing investigation. Amodeo I, 44 F.3d at 147 (citing In re Dep’t of Investigation, 856 F.2d

481, 484 (2d Cir. 1988)).

               This Court concludes that disclosure of the Materials with redactions strikes an

appropriate balance between the strong presumption of public access to search warrant materials

and the countervailing interests identified by the Government. In particular, the Government

represents that aspects of its investigation remain ongoing, including those pertaining to or

arising from Cohen’s campaign finance crimes. See Wells Fargo Bank, 643 F. Supp. 2d at 585

(collecting cases) (noting that concerns over compromising ongoing criminal investigations have

“frequently [been] found by courts to be sufficiently compelling to warrant some measure of

closure”). Indeed, the search warrant applications and affidavits catalogue an assortment of

uncharged individuals and detail their involvement in communications and transactions



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connected to the campaign finance charges to which Cohen pled guilty. According to the

Government’s ex parte submissions, these individuals include those cooperating with the

Government, those who have provided information to the Government, and other subjects of the

investigation. Moreover, although the search warrants do not themselves detail the

Government’s ongoing investigation to the same level of granularity as the applications and

affidavits, they nonetheless enumerate topics of inquiry relating to the campaign finance charges.

                  At this stage,2 wholesale disclosure of the Materials would reveal the scope and

direction of the Government’s ongoing investigation. It would also unveil subjects of the

investigation and the potential conduct under scrutiny, the full volume and nature of the evidence

gathered thus far, and the sources of information provided to the Government. As courts have

regularly observed in the context of ongoing investigations, the disclosure of such information

may enable uncharged individuals to coordinate or tailor their testimony and interactions with

the Government. See Sealed Search Warrants, 2008 WL 5667021, at *4. And if the past is any

prologue, unmasking those who are cooperating with the Government’s investigation or who

have otherwise provided information to the Government could deter further cooperation with the

investigation by “subject[ing] those individuals to witness tampering, harassment, or retaliation.”

Sealed Search Warrants, 2008 WL 5667021, at *4 (citing Amodeo II, 71 F.3d at 1051-52).

Accordingly, the portions of the Materials relating to Cohen’s campaign finance crimes shall be

redacted. Further, in view of the ongoing investigation, the names of the special agents who

signed the search warrant applications and submitted supporting affidavits may also be redacted,




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          Although the Media Organizations correctly observe that the Government’s interest in protecting the
integrity of its investigation may in some circumstances diminish after certain stages of a criminal prosecution have
occurred, see In re Sealed Search Warrant, 2006 WL 3690639, at *4-5 (N.D.N.Y. Dec. 11, 2006), this Court credits
the Government’s representation that aspects of the Government’s investigation, including those relating to or
arising from Cohen’s campaign finance violations, are continuing.

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along with the paragraphs of the search warrant affidavits describing the agents’ experience or

law enforcement techniques and procedures. Accord In re Search Warrant, 2016 WL 7339113,

at *4.

                 On the other hand, disclosure is justified as to those portions of the Materials

relating to Cohen’s charges for tax evasion and false statements to financial institutions, as well

as Cohen’s conduct that did not result in criminal charges. Cf. United States v. Aref, 533 F.3d

72, 83 (2d Cir. 2008) (reinforcing in dicta “the requirement that district courts avoid sealing

judicial documents in their entirety unless necessary,” based on the importance of transparency

to “public perception of the judiciary’s legitimacy and independence”). Based on a review of the

Government’s ex parte submissions, its investigation as to those charges appears to have

concluded. Cf. United States v. Bus. of Custer Battlefield Museum & Store Located at Interstate

90, Exit 514, S. of Billings, 658 F.3d 1188, 1194 (9th Cir. 2011) (holding that “the public has a

qualified common law right of access to warrant materials after an investigation has been

terminated”). And although at least some of these charges share a factual nexus with the conduct

underlying Cohen’s campaign finance violations, this Court is not persuaded that they are so

factually interconnected that disclosure of the sections of the Materials relating to Cohen’s

personal business dealings would impair the areas of the Government’s investigation that have

not concluded.

                 Nonetheless, the privacy interests of uncharged third parties named in the portions

of the Materials relating to the Government’s investigation into Cohen’s personal business

dealings also warrant consideration. Amodeo II, 71 F.3d at 1050-51 (reiterating that “[t]he

privacy interests of innocent third parties . . . should weigh heavily in a court’s balancing

equation”). Despite the Government’s generalized representations that the uncharged third



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parties possess a substantial privacy interest that would be prejudiced by disclosure, this Court

independently assesses their privacy interests based on a review of the Materials. Accord In re

N.Y. Times Co., 828 F.2d 110, 116 (2d Cir. 1987) (“The job of protecting such [privacy]

interests rests heavily upon the shoulders of the trial judge, since all the parties who may be

harmed by disclosure are typically not before the court.”). In particular, the Materials identify

(1) individuals who purportedly engaged in business transactions or contemplated business

transactions with Cohen relating to taxi medallions; (2) entities that paid Cohen “consulting

fees”; and (3) financial institutions to which Cohen made false statements. The search warrant

affidavits also describe in greater detail the course of conduct among Cohen and these

individuals or entities. Further, the affidavits reference several other individuals or entities to

varying degrees.

               In determining the weight of an asserted privacy interest, the Second Circuit has

instructed courts to first consider “the degree to which the subject matter is traditionally

considered private rather than public.” Amodeo II, 71 F.3d at 1051 (explaining that “financial

records of a wholly owned business, family affairs, illnesses, embarrassing conduct with no

public ramifications, and similar matters will weigh more heavily against access than conduct

affecting a substantial portion of the public”). In this regard, cognizable privacy interests are not

limited strictly to “‘intimate relations’ such as bedroom or other intimate conversations.”

Amodeo II, 71 F.3d at 1051 n.1. Courts must also weigh the “nature and degree of injury,”

which implicates “the sensitivity of the information and the subject” and “how the person

seeking access intends to use the information.” Amodeo II, 71 F.3d at 1051. Other factors that

may be evaluated include the “reliability of the information” and “whether the nature of the

materials is such that there is a fair opportunity for the subject to respond to any accusations



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contained therein.” Amodeo II, 71 F.3d at 1051.

                Here, the parties involved with business transactions relating to Cohen’s taxi

medallions seem to be “peripheral characters” for whom the Materials raise little discernable

inference of criminal conduct. Cf. Amodeo II, 71 F.3d at 1051 n.1 (citing In re Application of

Newsday, No. 88-286, slip op., at 10 (E.D.N.Y. June 27, 1989), aff’d, 895 F.2d 74 (2d Cir.

1990)) (endorsing district court’s redaction of “the names of both corporations and individuals

because they ‘at least appear[ed] to [the court] to be peripheral characters and as to whose

[criminal] complicity [the court] had some doubt’” (alterations in original)). The relevant

considerations weigh in favor of redacting the names and descriptions of these uncharged

individuals, who may nonetheless be “stigmatized from sensationalized and potentially out-of-

context insinuations of wrongdoing, combined with the inability of these third parties to clear

their names at trial.”3 United States v. Smith, 985 F. Supp. 2d 506, 526 (S.D.N.Y. 2013); see

United States v. Huntley, 943 F. Supp. 2d 383, 388 (E.D.N.Y. 2013) (recognizing the danger of

“lead[ing] some members of the public to find—wrongly—‘fire’ when nothing but ‘smoke’

exists”). For the same reasons, references to those around Cohen from which the public might

infer criminal complicity—as opposed to references to individuals or entities mentioned only in

passing—should also be redacted.

                This Court reaches a different conclusion with respect to the affidavits’

descriptions of the taxi medallion transactions. Although the subject matter involves business

transactions between private citizens that do not inherently affect members of the public, the

nature of the transactions does not present the same sensitivity that may be raised by the types of

matters identified in Amodeo II, such as confidential financial, medical, or personal information.


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        These concerns are not unfounded—some of the email accounts subject to the Government’s 18 U.S.C.
§ 2703 warrants are associated with some of these uncharged individuals.

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In this Court’s view, the privacy interests in the descriptions of the taxi medallion transactions

are insufficient to overcome the public’s right of access. The balance skews even more heavily

in favor of disclosure as to the affidavits’ descriptions of the consulting arrangements and the

entities who paid Cohen for consulting work. These arrangements—some of which were made

by publicly traded companies—involved payments for consulting on various political issues that

affect the general public. In addition, the cursory descriptions of the arrangements appear to be

minimally sensitive, and in any event, almost all of the entities have already publicly confirmed

the existence of the payments. Accord United States v. Basciano, 2010 WL 1688510, at *4

(E.D.N.Y. Apr. 23, 2010) (“Shielding third parties from unwanted attention arising from an issue

that is already public knowledge is not a sufficiently compelling reason to justify withholding

judicial documents from public scrutiny.”).

                  With respect to the names of financial institutions to whom Cohen made false

statements, the public’s strong presumption of access to search warrant materials also outweighs

any privacy interests of those institutions that may be gleaned from the Materials. To be sure,

there is no suggestion that the financial institutions—the victims of Cohen’s

misrepresentations—were believed to have engaged in criminal activity.4 But at its core, the

“venerable” privacy-interest exception to the presumption of access exists to avert “cater[ing] ‘to

a morbid craving for that which is sensational and impure.’” Amodeo II, 71 F.3d at 1051

(citation omitted); cf. Nixon, 435 U.S. at 598 (noting that courts have the power to “insure that

its records are not ‘used to gratify private spite or promote public scandal’” or “serve as



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         Certainly, the privacy and reputation of crime victims has been recognized to be a countervailing interest to
the presumption of public access. See, e.g., United States v. Belfort, 2014 WL 2612508, at *3 (E.D.N.Y. June 11,
2014). However, the potential harm from disclosing the names and addresses of private individuals who were
defrauded, for example, is less readily apparent as applied to large financial institutions. See Belfort, 2014 WL
2612508, at *4 (describing the substantial harms of “embarrassment at being identified as a victim of a boiler-room
scam, media contacts that may well be unwelcome, and . . . further victimization by fraudsters”).

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reservoirs of libelous statements for press consumption” (internal citations omitted)). There is

minimal risk that the information relating to the financial institutions—who were passive victims

of Cohen’s criminal conduct—is of the sort that would animate the concerns identified by

Amodeo II and Nixon. Further, the Government’s objection that the search warrant affidavits

include more detail than what has already been reported by the media is immaterial because the

Government fails to articulate any privacy interest that may be harmed by disclosure.

II.    First Amendment Right of Access

               Because the Media Organizations root their applications in the common law and

the First Amendment, this Court also evaluates whether the latter compels unsealing the

Materials. Admittedly, the Second Circuit has counseled that in determining whether a right to

access court records exists, “[courts] first look to the common law, for [they] need not, and

should not, reach the First Amendment issue if judgment can be rendered on some other basis.”

In re Application of Newsday, Inc., 895 F.2d at 78. But such guidance—ostensibly grounded in

constitutional avoidance principles—appears out of vogue with the weight of more recent circuit

precedent. See Erie Cty., 763 F.3d at 241 (declining to engage in the common law analysis

based on the conclusion that the documents at issue were “subject to a First Amendment right of

access, which is stronger and can only be overcome under more stringent circumstances”);

Newsday LLC, 730 F.3d at 165 (applying only the First Amendment standard based on its

applicability and favorability to the party seeking access); Lugosch, 435 F.3d at 124 (“Having

concluded that the common law presumption of access exists in this context, we may not avoid

the question of whether a First Amendment presumption of access also exists, for the

[newspapers] ask us to impose the higher constitutional burden in requiring disclosure.”).




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       A. Legal Standards

               Unquestionably, the First Amendment affords the media and public a qualified

right to access certain judicial documents. Lugosch, 435 F.3d at 120 (citing Hartford Courant

Co. v. Pellegrino, 380 F.3d 83, 91 (2d Cir. 2004)). This qualified presumption “protects the

public against the government’s arbitrary interference with access to important information.”

N.Y. Civil Liberties Union v. N.Y.C. Transit Auth. (“NYCTA”), 684 F.3d 286, 298 (2d Cir.

2012); see Newsday LLC, 730 F.3d at 164-65 (noting that “‘[w]hat offends the First Amendment

is the attempt to [exclude the public] without sufficient justification,’ not the simple act of

exclusion itself” (alterations in original) (internal citation omitted)). As with the common law

rubric, the public interest in the underlying subject matter is of marginal relevance. See United

States v. Smith, 776 F.2d 1104, 1114-15 (3d Cir. 1985) (“When resolving issues involving [the

common law and First Amendment rights of access], the Supreme Court has not examined

whether there has been a tradition of access with respect to information of the particular

character involved or whether that information is of significant public interest.”).

               The constitutional analysis begins with a threshold determination of whether the

court records are “judicial documents,” Erie Cty., 763 F.3d at 239-40, a necessary but not

sufficient condition for the First Amendment presumption to attach. Where (as here) a court has

determined that a document is judicial in nature, the Second Circuit articulates two approaches

for ascertaining whether the First Amendment right of access applies. First, under the

“experience and logic” approach applied by the Supreme Court in Press-Enterprise Co. v.

Superior Court of California for Riverside County, courts consider whether the documents “have

historically been open to the press and the general public” (experience) and whether “public

access plays a significant positive role in the functioning of the particular process in question”



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(logic). Hartford Courant, 380 F.3d at 92 (quoting Press-Enter. Co. v. Super. Ct., 478 U.S. 1, 8

(1986)). The second approach “considers the extent to which the judicial documents are ‘derived

from or [are] a necessary corollary of the capacity to attend . . . relevant proceedings’” to which

the First Amendment right of access attaches. Lugosch, 435 F.3d at 120 (citation omitted)

(alteration in original); see Newsday LLC, 730 F.3d at 164 (observing that the Second Circuit

adopts this approach “only when analyzing judicial documents related to judicial proceedings

covered by the First Amendment right”).

               Upon concluding that a qualified First Amendment right of access exists under

either approach, continued sealing is warranted “only with specific, on-the-record findings that

sealing is necessary to preserve higher values and only if the sealing order is narrowly tailored to

achieve that aim.” Lugosch, 435 F.3d at 110 (citing In re N.Y. Times Co., 828 F.2d at 113); cf.

NYCTA, 684 F.3d at 304 (enumerating four requirements to close a proceeding subject to a First

Amendment right of access, i.e., an “overriding interest that is likely to be prejudiced,” a closure

“no broader than necessary to protect that interest,” judicial consideration of “reasonable

alternatives to closing the proceeding,” and judicial “findings adequate to support the closure”).

       B. Application

               As a preliminary matter, the First Amendment framework—unlike its common

law counterpart—looks to historical access to the documents or proceedings in question.

Because such an inquiry may differ between Rule 41 warrant materials and § 2703 warrant

materials, this Court examines the applicability of a constitutional right of access separately.

               1. Rule 41 Search Warrant Materials

                       a. Experience and Logic

               The Government and the Media Organizations take opposing sides in a circuit



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split about whether and in what circumstances experience and logic support a First Amendment

right of access to Rule 41 search warrants, search warrant applications, and supporting affidavits.

The majority of circuits have circumscribed in some fashion the applicability of the First

Amendment right of access to search warrant materials in deference to ongoing investigations.

For instance, the Ninth Circuit has adopted a bright-line rule that no public right of access

attaches to search warrants and supporting affidavits “when an investigation is ongoing but

before indictments have been returned,” whether under the First Amendment or otherwise.

Times Mirror Co. v. United States, 873 F.2d 1210, 1218 (9th Cir. 1989). Similarly, the Fourth

Circuit has held that no First Amendment right of access exists for search warrant affidavits, at

least between execution of the warrants and indictment. Balt. Sun Co. v. Goetz, 886 F.2d 60, 64

(4th Cir. 1989). Finally, the Sixth Circuit has concluded that no First Amendment right of access

applies to documents filed in search warrant proceedings “based in part on the lack of any

evidence that there is a historical tradition of such access and in part because that access would

be detrimental to the search warrant application and criminal investigatory processes.” In re

Search of Fair Finance, 692 F.3d 424, 433 (6th Cir. 2012).

               By contrast, the Eighth Circuit is the lone federal court of appeals that has

affirmatively recognized a First Amendment right of access to documents filed in support of

search warrant applications after execution of the warrant, even if the investigation is ongoing.

Specifically, it reasoned that those materials are “routinely filed with the clerk of court without

seal” and that access to such documents “is important to the public’s understanding of the

function and operation of the judicial process and the criminal justice system and may operate as

a curb on prosecutorial or judicial misconduct.” In re Search Warrant for Secretarial Area

Outside Office of Gunn (“Gunn”), 855 F.2d 569, 573 (8th Cir. 1988). The Eighth Circuit further



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noted the centrality of search warrant materials to pre-trial suppression hearings, which—like

other pre-trial criminal proceedings—have been recognized to be within the First Amendment’s

ambit. Gunn, 855 F.2d at 573.

                 Although the Second Circuit has not yet spoken,5 this Court holds that neither

experience nor logic support a First Amendment right of access to search warrant materials.

                                   i.       Experience

                 The Media Organizations correctly observe that search warrant materials are often

accessible to the extent that they are publicly filed with the clerk of court under Rule 41(i). See

Balt. Sun, 886 F.2d at 64 (noting that search warrant materials are “probably most frequently”

open for inspection after execution). But this does not necessarily equate to a long-standing,

national tradition of accessibility to warrant materials when judicial issuance of a warrant is

sought. See In re Search of Fair Finance, 692 F.3d at 430 (“To preserve this interest in secrecy

[of warrant proceedings], any documents filed in connection with the application process are

also, by necessity, submitted confidentially.”); Pirk, 282 F. Supp. 3d at 600 (explaining that “the

affidavits supporting a search warrant application are typically filed under seal and remain under

seal at least while the investigation is ongoing”).

                 Moreover, Rule 41(i) itself sets no time limit for when search warrant materials

must be filed, and in any event, whether they are filed publicly is committed to the discretion of

the issuing magistrate. In re Application of Newsday, Inc., 895 F.2d at 79; see also Balt. Sun,

886 F.2d at 64-65 (noting that the “need for sealing affidavits may remain after execution and in

some instances even after indictment” if they “describe continuing investigations, disclose



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         In In re N.Y. Times Co., the Times sought to unseal wiretap and search warrant applications. Because the
government agreed to disclose the search warrant applications, however, the Second Circuit did not reach the issue
of public access to the search warrant materials in that case. See In re N.Y. Times Co., 577 F.3d at 404.

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information from wiretaps that have not yet been terminated, or reveal the identity of informers

whose lives would be endangered”). Against this backdrop, Rule 41(i) does not “establish any

tradition of public access” to warrant materials. In re Search of Fair Finance, 692 F.3d at 430.

                  The Times counters that the relevant frame of reference is whether search warrant

materials have historically been available at “the conclusion of a criminal proceeding.” (See

Times Letter, at 2.) To be certain, courts have often looked to the status of the criminal

proceeding at the time of the request for access in determining whether a First Amendment

presumption attaches to search warrant materials. See, e.g., Times Mirror Co., 873 F.2d at 1221

(cabining holding to “the pre-indictment stage of an ongoing criminal investigation” without

deciding whether the public has a right of access when “an investigation has been terminated” or

when “an investigation is still ongoing, but an indictment has been returned”); Balt. Sun, 886

F.3d at 62 (considering the public’s right of access “in the interval between execution of the

warrants and indictment”). However, the Second Circuit’s approach in the analogous context of

Title III wiretap applications suggests that historical experience is more aptly determined by

reference to the warrant application stage as opposed to a case’s procedural posture at the time

that the documents in question are requested.6

                  In In re New York Times, the Second Circuit recognized no First Amendment

right of access to Title III wiretap applications as a categorical matter based on the statutory

presumption against disclosure “at the wiretap application stage.” Wells Fargo Bank, 643 F.


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          Even assuming that the “experience” inquiry turns on the latter, the result would be the same. The
Government represents that the investigation to which the Materials relate is ongoing as to persons other than
Cohen, some of whom the Government has identified in its ex parte submissions. See, e.g., United States v.
Paloscio, 2002 WL 1585835, at *3 (S.D.N.Y. July 17, 2002) (finding no First Amendment right of access where
“[t]he government represents that the warrants, and the materials submitted in support of their issuance, relate to an
ongoing investigation of persons other than defendant . . . , and that disclosure might jeopardize the ongoing
investigation”). Thus, cases recognizing a First Amendment right to access after an investigation has concluded are
not to the contrary. See, e.g., Loughner, 769 F. Supp. 2d at 1191-92; In re Application of N.Y. Times Co. for
Access to Certain Sealed Court Records, 585 F. Supp. 2d 83, 86, 88 & n.7 (D.D.C. 2008).

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Supp. 3d at 582 n.6; see In re N.Y. Times Co., 577 F.3d at 410. The Second Circuit reached this

conclusion despite the fact that at the time of the request for access, all of the individuals charged

as a result of the investigation had pled guilty. See In re N.Y. Times Co., 577 F.3d at 403, 410.

Put differently, the In re New York Times panel found no historical access to wiretap

applications, even though those materials were requested at a stage of the proceedings in which

the need to protect ongoing criminal investigations would presumably be less. And notably, the

Second Circuit determined that no tradition of openness existed notwithstanding its observation

that “[i]n the ordinary course, wiretap orders and applications are unsealed during criminal

proceedings or discovery.” In re N.Y. Times Co., 577 F.3d at 403. Of course, this is

unsurprising because of the Second Circuit’s temporal focus on the wiretap application stage—

an investigatory process veiled in secrecy.

                Indeed, the purpose underlying the First Amendment presumption, guidance from

the Supreme Court and the federal courts of appeals, and practical considerations are all

congruent with analyzing any tradition of openness by reference to the point when judicial

authority is invoked to seal a document—here, at the warrant application stage—and not when

access to those documents is requested. Cf. Wells Fargo Bank, 643 F. Supp. 2d at 582-83

(concluding that “it is appropriate to look, in determining the relevant historical context . . . , to

the type of proceeding in connection with which the documents became sealed judicial records”).

First, the constitutional right of access is rooted in preventing arbitrary government interference

with the public’s access to information about governmental affairs. See NYCTA, 684 F.3d at

298; Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 587 (1980) (Brennan, J., concurring

in the judgment) (explaining that the First Amendment plays a structural role in “securing and

fostering our republican system of self-government” by ensuring informed public debate).



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                  Moreover, the Supreme Court has reiterated in the context of judicial proceedings

that the “experience” inquiry “does not look to the particular practice of any one jurisdiction, but

instead ‘to the experience in that type or kind of hearing throughout the United States.’” El

Vocero de P.R. (Caribbean Int’l News Corp.) v. Puerto Rico, 508 U.S. 147, 150 (1993) (per

curiam) (citation omitted) (emphasis in original). Sister circuits have also observed that the

presumptive First Amendment right of access is “categorical and do[es] not depend on the

circumstances of any particular case,” instead deferring case-specific considerations to the

assessment of whether sealing is required to preserve higher values.7 See United States v. Index

Newspapers LLC, 766 F.3d 1072, 1085 (9th Cir. 2014); accord In re Bos. Herald, Inc., 321 F.3d

174, 186 n.7 (1st Cir. 2003) (noting that the First Circuit “do[es] not rely on factors which are

atypical to a process when considering whether the right attaches to that process in general,” but

that “[o]nce a First Amendment right attaches, . . . when the court decides whether the qualified

right is overcome, it considers factors relevant to a particular case”). In this Court’s view, the

particular posture of a criminal case at the moment access is sought is more akin to a case-

specific circumstance than a broadly applicable aspect of the search warrant process, such as

when warrant materials are sought to be sealed. Cf. Index Newspapers LLC, 766 F.3d at 1085

(remarking that case-specific circumstances relevant to considering whether sealing is

“nevertheless required to prevent harm to a compelling interest” include “whether [a] grand jury

investigation is ongoing, and if not, how much time has passed since its completion”).

                  Finally, as a practical matter, examining historical access to search warrant



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          This is not to say that the stage of the criminal proceeding is never relevant to the antecedent determination
of whether the First Amendment presumption applies to a class of documents. Accord In re Bos. Herald, Inc., 321
F.3d 174, 186 (1st Cir. 2003). Indeed, the conclusion that experience and logic do not support a First Amendment
right of access to search warrant materials rests precisely on the observations that warrant materials are generally
sealed at the warrant application stage and that the search warrant process typically occurs in the investigatory
phases of a criminal proceeding, when secrecy is the norm.

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materials based on case-specific circumstances at the time of the request for access would require

courts to engage in potentially arbitrary judgments as to which circumstances are relevant. E.g.,

Pirk, 282 F. Supp. 3d at 600 (analyzing historical access to “[a] search warrant affidavit related

to an ongoing investigation that pertains to unchallenged searches of property in which no

indicted defendant has claimed a reasonable expectation of privacy interest”); see United States

v. Loughner, 769 F. Supp. 2d 1188, 1192 (D. Ariz. 2011) (recognizing that the case law on

historical access to search warrants “post-investigation and post-indictment, but pretrial” is

“thin”). Such an approach creates the potential for patchwork determinations of whether the

First Amendment presumption applies to search warrant materials in the context of each

individual case—or worse, inconsistent determinations of whether the presumption applies to

search warrants in similarly situated cases.

                               ii.     Logic

               Considerations of logic also counsel against recognizing a First Amendment right

to access search warrant materials. Of course, public access to search warrant materials may

promote the integrity of the criminal justice system or judicial proceedings in a generalized

sense. United States v. Huntley, 943 F. Supp. 2d 383, 385 (E.D.N.Y. 2013) (remarking that “the

light of the press shining into the innards of government is necessary to inhibit violation of the

public trust”). But such an argument cuts too wide a swath—taken to its extreme, considerations

of logic would always validate public access to any judicial document or proceeding. Cf. Times

Mirror Co., 873 F.2d at 1213 (rejecting as overbroad the argument that the First Amendment

mandates access to any proceeding or document that implicates “self-governance or the integrity

of the criminal fact-finding process”); In re Bos. Herald, Inc., 321 F.3d at 187 (“In isolation, the

[rationale that the public must have a full understanding to serve as an effective check] proves



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too much—under it, even grand jury proceedings would be public.”). As the Ninth Circuit aptly

observed, “[e]very judicial proceeding, indeed every governmental process, arguably benefits

from public scrutiny to some degree, in that openness leads to a better-informed citizenry and

tends to deter government officials from abusing the powers of government.” Times Mirror Co.,

873 F.2d at 1213.

               Rather, the relevant inquiry is whether public access to the Rule 41 Materials

would play a “significantly positive” role in the functioning of the search warrant process in

particular. Press-Enter. Co., 478 U.S. at 8-9 (“Although many governmental processes operate

best under public scrutiny, it takes little imagination to recognize that there are some kinds of

government operations that would be totally frustrated if conducted openly.”). This Court cannot

conclude that public scrutiny of search warrants and supporting materials would significantly

benefit the proper functioning of a process aimed at uncovering the fruits, instrumentalities, or

other evidence of crime without also introducing “the potential of witness corruption, the

destruction of evidence, and the flight of persons under investigation.” In re S.F. Chronicle,

2007 WL 2782753, at *2 (E.D.N.Y. Sept. 24, 2007); accord Wells Fargo Bank, 643 F. Supp. 2d

at 583 n.6 (noting that “it is often crucial that probable cause determinations in connection with

search and seizure warrants be shielded from public scrutiny at the time they are made in order to

preserve the integrity and effectiveness of the related criminal investigations”).

               Finally, the Times also asserts that public access would assist in monitoring the

use of the Government’s search and seizure power. (See, e.g., Times Letter, at 5.) Certainly, the

knowledge that the public might scrutinize a search warrant affidavit may well deter potential

abuses of the search warrant process by law enforcement. But it may just as easily incentivize

the government to selectively disclose or under-disclose information in warrant applications to



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protect the integrity of its investigations, which could in turn subvert the proper functioning of

the investigatory process by “imped[ing] [a magistrate judge’s] ability to accurately determine

probable cause.” In re Fair Finance, 692 F.3d at 432. On balance, disclosure would not play “a

particularly significant role in the actual functioning” of the search warrant process or the larger

investigatory process. Press-Enter. Co., 478 U.S. at 11. Accordingly, neither experience nor

logic points to a First Amendment right to access the Rule 41 Materials.

                       b. Attendance at Proceedings

               Likewise, the consensus of courts acknowledges that the attendance-at-judicial-

proceedings approach affords no basis for the First Amendment to attach to the Rule 41

Materials because no constitutional right of access covers proceedings to obtain search warrants.

Accord, e.g., Pirk, 282 F. Supp. 3d at 597; In re Search Warrant, 2016 WL 7339113, at *3.

Whether the First Amendment affords a right of access to a particular judicial proceeding is

determined by the same “experience and logic” approach that applies to judicial documents. See

Newsday LLC, 730 F.3d at 164. History and experience indicate that proceedings to obtain

search warrants traditionally involve in camera determinations of ex parte applications. See, e.g.,

Gunn, 855 F.2d at 573 (“[H]istorically the process of issuing search warrants involves an ex

parte application by the government and in camera consideration by the judge or magistrate.”);

Balt. Sun, 886 F.2d at 64 (observing that “[t]wice the Supreme Court has recognized that

proceedings for the issuance of search warrants are not open”); cf. In re N.Y. Times Co., 577

F.3d at 410 (finding no First Amendment right of access to Title III wiretap applications in part

because “the public and the press are not permitted to attend the ex parte, in camera proceedings

where wiretap applications are presented to a district judge”).

               Nor does logic dictate that a First Amendment presumption of access should



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apply to search warrant proceedings, whose objective of obtaining evidence in a criminal

investigation would be undermined if those involved with criminal activity had foreknowledge of

an impending search. See Gunn, 855 F.2d at 573 (“[T]he very objective of the search warrant

process, the seizure of evidence of crime, would be frustrated if conducted openly.”); Balt. Sun,

886 F.2d at 64 (explaining that “the proceeding for issuing a search warrant ‘is necessarily ex

parte, since the subject of the search cannot be tipped off to the application for a warrant lest he

destroy or remove the evidence’” (citing Franks v. Delaware, 438 U.S. 154, 169 (1978)).

               2. Section 2703 Warrant Materials

               The applicability of the First Amendment right of access to warrant materials

under § 2703 appears to be a question of first impression in this circuit. As a threshold matter,

this Court is not persuaded that a “long ‘tradition of accessibility’” exists with respect to either

§ 2703 warrants or proceedings to obtain § 2703 warrants. The scarce precedent relating to the

First Amendment right to access § 2703 warrant materials suggests that they have been non-

accessible in practice, despite the SCA’s lack of statutory provisions expressly mandating sealing

or nondisclosure as a default. See In re Application of Leopold, 300 F. Supp. 3d at 86 (stating

that “SCA materials historically have not been [publicly] available” and noting the petitioners’

acknowledgement that such materials are generally maintained under seal). Indeed, much like

traditional search warrant materials, § 2703 warrant materials are typically kept under seal until

they are produced in discovery pursuant to Rule 16 of the Federal Rules of Criminal Procedure.

               To be sure, § 2703 warrants—having been introduced by the SCA in 1986—are

“in terms of ‘tradition,’ . . . fairly recent development[s].” United States v. Suarez, 880 F.2d 626,

631 (2d Cir. 1989) (discussing the Criminal Justice Act, then in existence for almost 25 years).

But see In re Application of Leopold, 300 F. Supp. 3d at 87-88 (doubting that the SCA was of



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such recent vintage in 2018 as to constitute a “new procedure that substituted for an older one

[and that] would presumably be evaluated by the tradition of access to the older procedure”

(quoting United States v. El-Sayegh, 131 F.3d 158, 161 (D.C. Cir. 1997))).8 And the Second

Circuit has instructed that the lack of a long tradition of openness to a novel process does not

necessarily obviate the applicability of the First Amendment right of access. See Suarez, 880

F.2d at 631 (explaining that the lack of a “long ‘tradition of accessibility’” to Criminal Justice

Act forms “does not detract from the public’s strong interest in how its funds are being spent in

the administration of criminal justice and what amounts of public funds are paid to particular

private attorneys or firms”).

                  Suarez is inapposite, however, because it merely stands for the proposition that a

strong showing that logic supports public access may compensate for the absence of a tradition

of openness based on the novelty of a process. Cf. NYCTA, 684 F.3d at 301 n.10 (noting that

the Supreme Court “has not specified how much weight courts should give each prong” and

declining to determine the issue).9 The § 2703 warrant context differs in at least two meaningful



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          In the D.C. Circuit, “[a]nalytical substitution of one judicial procedure for another is appropriate only when
the procedure to which petitioners assert a right of access is ‘new.’” In re Application of Leopold, 300 F. Supp. 3d
at 87 (citing El-Sayegh, 131 F.3d at 161). As noted above, the Leopold court expressed skepticism as to the novelty
of SCA materials, instead finding no tradition of openness to SCA materials based on historical practice, the text of
the statute, and statutory context. See In re Application of Leopold, 300 F. Supp. 3d at 86-87. It reasoned that even
if analytical substitution were appropriate, no tradition of openness would exist because SCA warrant materials are
most functionally analogous to grand jury subpoenas based on their execution and opportunity for pre-disclosure
challenge. See In re Application of Leopold, 300 F. Supp. 3d at 88-91. The Second Circuit does not appear to have
adopted the D.C. Circuit’s analytical substitution approach either explicitly or in practice.
9
          Some federal circuits have held that “experience and logic” must both be satisfied for the qualified First
Amendment right of access to attach. See, e.g., Fair Finance, 692 F.3d at 431; El-Sayegh, 131 F.3d at 161; Balt.
Sun, 886 F.2d at 64. Others have adopted or suggested a disjunctive approach. See, e.g., In re Copley Press, Inc.,
518 F.3d 1022, 1026 (9th Cir. 2008) (acknowledging that “logic alone, even without experience, may be enough to
establish the [First Amendment] right”); In re Bos. Herald, Inc., 321 F.3d at 182 (expressing doubt that the
conjunctive approach “is the correct reading of the ‘complementary considerations’ of [Press-Enterprise],” but
declining to decide the issue); United States v. Gonzales, 150 F.3d 1246, 1258 (10th Cir. 1998) (proceeding to the
“logic” inquiry based on the novelty of the process in question). Although the Second Circuit has remarked in dicta
that the First Amendment right of access requires both logic and experience to be established, In re N.Y. Times Co.,
577 F.3d at 410, Suarez and NYCTA suggest a more nuanced approach.

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respects. First, § 2703 warrant materials have been subject to a practice of secrecy at the warrant

application stage despite their comparatively recent vintage. Accord In re N.Y. Times Co., 577

F.3d at 410 (concluding that wiretap applications have not been historically open because they

“have been subject to a statutory presumption against disclosure” since their creation in 1968,

despite its characterization of wiretap applications as a “more modern invention” compared to

wiretaps themselves (emphasis in original)). Second, considerations of logic do not strongly

support openness as in Suarez—to the contrary, they weigh against a presumption of access to

§ 2703 warrant materials or proceedings.

               In particular, applications for § 2703 warrants, supporting affidavits, and

proceedings to obtain § 2703 warrants serve a similar investigatory function as their analogues

under Rule 41. See NYCTA, 684 F.3d at 299 (instructing that the First Amendment question

“focus[es] not on formalistic descriptions of the government proceeding but on the kind of work

the proceeding actually does and on the First Amendment principles at stake”). And as in the

Rule 41 context, public access to § 2703 warrant materials or proceedings would not play a

significant salutary role in the functioning of the investigatory process, where secrecy is the

norm to ensure the integrity and effectiveness of a criminal investigation. Cf. In re Application

of the U.S., 707 F.3d at 292 (“[O]penness of the [§ 2703(d)] orders does not play a significant

role in the functioning of investigations. Section 2703(d) proceedings consist of the issuance of

and compliance with § 2703(d) orders, are ex parte in nature, and occur at the investigative, pre-

grand jury, pre-indictment phase of what may or may not mature into an indictment.”); see also

In re Leopold, 327 F. Supp. 3d 1, 19 (D.D.C. 2018). Thus, under either the “experience and

logic” or “attendance at proceedings” approach, the Media Organizations do not enjoy a First

Amendment right of access to the § 2703 Materials.



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                                         CONCLUSION

               For the foregoing reasons, the Media Organizations’ applications are granted in

part and denied in part. The Government is directed to submit a sealed, ex parte copy of the

Materials by February 28, 2019 with proposed redactions in highlights consistent with this

Opinion & Order. After reviewing the proposed redactions, this Court will direct the

Government to file the redacted Materials on the public docket in this action.

               The Government is further directed to submit a status report, ex parte and under

seal, by May 15, 2019 identifying the individuals or entities subject to any ongoing

investigations and explaining any need for continued redaction of the Materials. Cf. United

States v. E. Side Ophthalmology, 1996 WL 384891, at *2 (S.D.N.Y. July 9, 1996) (“The caselaw

in this circuit indicates that search warrants and supporting documentation may not be sealed

indefinitely.”). If any intervening event obviates the need for continued redactions, the

Government shall advise this Court forthwith. The Clerk of Court is directed to terminate the

motions pending at ECF Nos. 11 and 19.

Dated: February 7, 2019
       New York, New York


                                                     SO ORDERED:


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                                                          WILLIAM H. PAULEY III
                                                                  U.S.D.J.




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